          Case 1:19-cv-03737-CJN Document 33 Filed 08/25/20 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 DOE I, et al.,
                               Plaintiffs,
                        v.                           Civil Action No. 19-3737 (CJN)

 APPLE INC., et al.,
                               Defendants.           ORAL ARGUMENT REQUESTED



                          DEFENDANTS’ JOINT MOTION TO
                        DISMISS FIRST AMENDED COMPLAINT

       Defendants Apple Inc., Alphabet Inc., Dell Technologies Inc., Microsoft Corp., and Tesla

Inc. hereby move this Court for an order dismissing with prejudice Plaintiffs’ First Amended

Complaint, ECF No. 25 (“Complaint”).

       The Complaint should be dismissed for the reasons outlined in the accompanying

Memorandum of Points and Authorities. First, Plaintiffs lack Article III standing and the

Complaint therefore should be dismissed under Federal Rule of Civil Procedure 12(b)(1) for lack

of subject matter jurisdiction. Second, the Complaint fails to state a claim upon which relief can

be granted and therefore should be dismissed under Federal Rule of Civil Procedure 12(b)(6).

       A proposed order accompanies this motion.


 August 25, 2020                                    Respectfully submitted,

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          Case 1:19-cv-03737-CJN Document 33 Filed 08/25/20 Page 3 of 3




                                  CERTIFICATE OF SERVICE

       I hereby certify that, on August 25, 2020, I electronically filed the foregoing with the

United States District Court for the District of Columbia by using the Court’s CM/ECF system,

which will send a notice of filing to all registered users, including counsel for all parties.



 August 25, 2020                                      Respectfully submitted,

                                                      /s/ Emily Johnson Henn
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